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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

 JENNILYN SALINAS, ET AL.,                            )
                                                      )
               Plaintiffs,                            )
                                                      )       No. 6:21-CV-162
 v.                                                   )
                                                      )
 NANCY PELOSI, ET AL.,                                )
                                                      )
               Defendants.                            )


      ENTRY OF APPEARANCE OF COUNSEL FOR DEFENDANT JACK DORSEY

       Please take notice that the following attorneys from Vinson & Elkins, L.L.P. enter their

appearance as counsel for Defendant Jack Dorsey in the above-referenced matter:

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                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 22, 2021, a true and correct copy of the foregoing document
has been forwarded to all parties via the electronic delivery system of the United States District
Court for the Western District of Texas.


                                                    /s/ Thomas S. Leatherbury
                                                    Attorney for Jack Dorsey




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